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                             UNITED STATES DISTRICT COURT
 10
                           CENTRAL DISTRICT OF CALIFORNIA
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 12   ALEX MORGAN, et al.,                         Case No. 2:19-CV-01717-RGK-AGR
 13                       Plaintiffs,              Assigned to Hon. R. Gary Klausner
 14   v.                                           [PROPOSED] ORDER GRANTING
                                                   PLAINTIFFS’ MOTION FOR
 15   UNITED STATES SOCCER                         FINAL APPROVAL OF CLASS
      FEDERATION, INC.,                            ACTION SETTLEMENT
 16
                          Defendant.
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           [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF SETTLEMENT
                                   CASE NO.: 2:19-CV-01717-RGK-AGR
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  1          Having considered Plaintiffs’ unopposed motion for final approval of class
  2   action settlement and its supporting documents, and for good cause showing, the
  3   Court GRANTS the motion in its entirety. The Court APPROVES the parties’
  4   proposed Class Action Settlement and Release of Working Conditions Claims (the
  5   “Settlement”).
  6          The Court ORDERS that the terms and provisions of the Settlement be
  7   carried out. The Court will retain jurisdiction to oversee the administration and
  8   enforcement of the Settlement and the Court’s orders, except that any alleged
  9   violations of the four agreed-upon policies of the Settlement (and any obligations
 10   of these four policies) shall exclusively be enforceable under and subject to
 11   binding arbitration under the grievance and arbitration procedure of the collective
 12   bargaining agreement between the United States Soccer Federation, Inc. and the
 13   U.S. Women’s National Team Players Association, effective January 1, 2017
 14   through December 31, 2021.
 15          7KH &RXUW (17(56 ILQDO MXGJPHQW LQ WKLV FDVH LQFOXGLQJ on 3ODLQWLIIV
 16   (TXDO 3D\ $FW DQG 7LWOH 9,, SD\GLVFULPLQDWLRQ FODLPV
 17          IT IS SO ORDERED.
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 20           $SULO  
      Dated: _________________                     ____________________________

 21                                                Hon. R. Gary Klausner
                                                   United States District Judge for the
 22                                                Central District of California
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          [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF SETTLEMENT
                                  CASE NO.: 2:19-CV-01717-RGK-AGR
